. Case ee) RIGIN Al 07/03/03 Page 1 of 35
UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE GREGORY W. CARMAN, CHIEF JUDGE

 

THE MEAD CORPORATION, :
: Court Nos. 95-05-00643, etc
Plaintiff, : See Attached Schedule A
v. :
: Port: Kansas City, Missouri
THE UNITED STATES, :
Defendant.

 

STIPULATED JUDGMENT ON AGREED STATEMENT OF FACTS

These actions, as prescribed by Rule 58.1 of the Rules of the United States Court
of International Trade, are stipulated for judgment on the following agreed statement of
facts in which the parties agree that:

1. The protests involved here were filed and the actions involved here were
commenced within the time provided by law, and all liquidated duties, charges or
exactions have been paid prior to the filing of the summonses.

2. The imported merchandise covered by the entries set forth on attached
Schedule A are day planners and loose-leaf telephone address books.

3. The subject day planners, whose model numbers are numerically listed in
attached Schedule B, have been variously described on the commercial invoices as “day
planners” or “planners.”

4. The subject loose-leaf telephone address books, model numbers 67148,
67152 and 67300, have been variously described on the commercial invoices as

“tel/address” or “‘tel/add”’ books.
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5. The imported day planners and loose-leaf telephone address books were
primarily classified by the Customs Service under the Harmonized Tariff Schedule of the
United States (“HTSUS”) subheading 4820.10.20 as “diaries, notebooks and address
books, bound,” but some were classified under HTSUS subheadings 6307.90.99 and
3926.10.00. Duty for the subheading 4820.10.20 classifications was assessed based upon
the merchandise’s year of entry as follows: 1993 — 4%; 1994 — 4%; 1995 — 3.6%, 1996 —
3.2%, 1997 — 2.8%, 1998 ~ 2.4%, 1999 — 2.0%; and 2000 — 1.6%. Duty for subheading
6307.99.90 classifications was assessed at 7% and for subheading 3926.10.00
classifications at 5.3%

6. The stipulable imported merchandise is classifiable under the “other”
HTSUS subheading 4820.10.40 tariff provision, which carried a free rate of duty for all
the years in which the stipulable merchandise was imported.

7. The imported subject day planners covered by the entries set forth on the
attached Schedule A, which have been marked with the letter “A” and initialed WW by
William Williams of the Bureau of Customs and Border Protection, is stipulable in
accordance with this agreement.

8. The imported subject loose-leaf telephone address books covered by the
entries set forth on the attached Schedule A, which have been marked with the letter “B”
and initialed WW by William Williams of the Bureau of Customs and Border Protection,
is stipulable in accordance with this agreement.

9. Any refunds payable by reason of this judgment are to be paid with any

interest as provided by law.
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10. All other claims and non-stipulable entries are abandoned.

Respectfully submitted,

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Assistant Attorney General
Civil Division

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International Trade Field Office

By: (Bom oe
Amy M. Rubin, Esq.
Attorney for the United States
Dept. of Justice, Civil Division
Commercial Litigation Branch
26 Federal Plaza
New York, N.Y. 10278
Tel.: (212) 264-9237

IT IS HEREBY ORDERED that these actions are decided and this final judgment
is to be entered by the Clerk of this Court; the appropriate Bureau of Customs and Border
Protection officials shall reliquidate the entries and make refunds in accordance with the
stipulation of the parties set forth above.

Gregory W. Carman
Chief Judge

Date: Wel l, Sr ° /S/
To]
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SCHEDULE A
Court No. Protest Number Entry Number
95-05-00643 4501-94-100008 595-0134588-4

4501-93-100047

4501-94-100042

595-0135876-2

595-0128076-8
595-0128078-4
595-0128094-1
595-0128594-0
595-0128598-1
595-0128836-5
595-0128846-4
595-0128850-6
595-0128852-2
595-0128854-8
595-0129462-9
595-0129464-5
595-0129726-7
595-0130030-1
595-0130032-7
595-0130312-3
595-0130486-5
595-0130870-0
595-0131748-7
595-0131868-3
595-0132286-7
595-0132974-8
595-0132982-1
595-0133706-3

595-0149074-8
595-0150286-4
595-0150908-3
595-0153224-2
595-0153670-6
595-0154082-3
595-0154442-9
595-0155092-1
595-0155106-9
595-0155534-2
595-0155702-5
595-0155706-6
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SCHEDULE A

Court No. Protest Number Entry Number
4501-94-100085 595-0164136-5
595-0161032-9
595-0164160-5
595-0164730-5
595-0165422-8
595-0168258-3
595-0166796-4
595-0167568-6
595-0167690-8
595-0169308-5

4501-94-100028 595-0140654-6
595-0140660-3
595-0141096-9
595-0141098-5
595-0141904-4
595-0141914-3
595-0142550-4
595-0142552-0
595-0142814-4
595-0143232-8
595-0143234-4
595-0143880-4
595-0143884-6
595-0143890-3
595-0144336-6
595-0144598-1
595-0144600-5
595-0144608-8
595-0144724-3
595-0145008-0
595-0145374-6
595-0145380-3
595-0145832-3
595-0145834-9
595-0146412-3
595-0146418-0
595-0146488-3
595-0146426-3
595-0147630-9
595-0147940-2
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SCHEDULE A

Court No.

Protest Number

Entry Number

 

95-10-01334

4501-95-100005

4501-95-100032

595-0148368-5
595-0148370-1
595-0148640-7
595-0149072-2

595-0167688-2
595-0168582-6
595-0169442-2
595-0169472-9
595-0169484-4
595-0171004-6
595-0171008-7
595-0171014-5
595-0172212-4
595-0172214-0
595-0172216-5
595-0172226-4
595-0172908-7
595-0173132-3
595-0173138-0
595-0173142-2
595-0173852-6
595-0173856-7
595-0174428-4
595-0175246-9
595-0175262-6
595-0175390-5
595-0175392-1
595-0176100-7
595-0176102-3
595-0176104-9
595-0176270-8

595-0134596-7
595-0134608-0
595-0135214-6
595-0135220-3
595-0135222-9
595-0135402-7
595-0135872-1
595-0135880-4
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SCHEDULE A

Court No. Protest Number Entry Number
595-0135882-0
595-0136396-0
595-0137166-6
595-0137170-8
595-0137182-3
595-0137636-8
595-0138046-9
595-0138050-1
595-0138314-1
595-0138316-6
595-0138742-3
595-0139156-5
595-0139158-1
595-0139412-2
595-0139584-8
595-0140218-0
595-0173140-6
595-0176092-6
595-0176120-5
595-0176262-5
595-0176882-0
595-0177288-9
595-0177290-5
595-0177292-1
595-0177300-2
595-0177302-8
595-0177308-5
595-0177684-9
595-0178032-0
595-0178034-6
595-0178042-9
595-0178460-3
595-0178876-0
595-0178884-4
595-0178886-9
595-0178888-5
595-0179184-8
595-0179186-3
595-0179930-4
595-0179932-0
595-0179936-1
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SCHEDULE A

Court No.

Protest Number

4501-95-100060

Entry Number
595-0179942-9
595-0179944-5
595-0180386-6
595-0180394-0
595-0180506-9
595-0180510-1
595-0180512-7
595-0180516-8
595-0181220-6
595-0181254-5
595-0181256-0
595-0181368-3
595-0181908-6
595-0181912-8
595-0182958-0

595-0183418-4
595-0183422-6
595-0183556-1
595-0183564-5
595-0184262-5
595-0185272-3
595-0185628-6
595-0186403-3
595-0186489-2
595-0187367-9
595-0187375-2
595-0187379-4
595-0187387-7
595-0187661-5
595-0188225-8
595-0189225-7
595-0189227-3
595-0189249-7
595-0190869-9
595-0190883-0
595-0190887-1
595-0190905-1
595-0191599-1
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SCHEDULE A

Court No. Protest Number. Entry Number
4501-95-100086 595-0190895-4
595-0191659-3
595-0191661-9
595-0192049-6
595-0192209-6
595-0192739-2
595-0193573-4
595-0193579-1
595-0194109-6
595-0194519-6
595-0194539-4
595-0194541-0
595-0195589-8
595-0195087-3
595-0195105-3
595-0195107-9
595-0195109-5
595-0196011-2
595-0196163-1
595-1966479-1
595-0196659-8
595-0196979-0
595-0197013-7
595-0197015-2
595-0197031-9
595-0197815-5
595-0197829-6
595-0197831-2
595-0197835-3
595-0198631-5
595-0198635-6
595-0198899-8
595-0198913-7
595-0198949-1
595-0198963-2
595-0198989-7

96-05-01301 4501-95-100124 595-0199521-7
595-0199523-3
595-0199527-4
595-020001 1-6
 

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SCHEDULE A

Protest Number

4501-96-100008

Entry Number

595-0200731-9
595-0200739-2
595-0200747-5
595-0200749-1
595-0200765-7
595-0201615-3
595-0201617-9
595-0201647-6
595-0202055-1
595-0202065-0
595-0202071-8
595-0202081-7
595-0202481-9
595-0202485-0
595-0202939-6
595-0202955-2
595-0203465-1
595-0203467-7
595-0203489-1
595-0203757-1
595-0203759-7
595-0203761-3
595-0203901-5
595-0203903-1
595-0204261-3
595-0204505-3
595-0205011-1
595-0205249-7
595-0205251-3
595-0205255-4
595-0205913-8
595-0206309-8
595-020631 1-4

595-0206527-5
595-0207111-7
595-0207117-4
595-0207119-0
595-0207121-6
595-0207713-0
595-0207717-1
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Court No.

Protest Number

4501-96-100023

Entry Number
595-0207719-7
595-0208497-9
595-0208981-2
595-0208983-8
595-0209349-1
595-0210241-7
595-0210247-4
595-0210249-0
595-0210613-7
595-0210623-6
595-0211133-5
595-0211135-0
595-0212275-3
595-0212283-7
595-0212285-2
595-0212553-3

595-0212935-2
595-0213181-2
595-0213183-8
595-0214179-5
595-0214181-1
595-0215145-5
595-0215569-6
595-0215845-0
595-0216589-3
595-0217105-7
595-0217581-9
595-0217895-3
595-0218057-9
595-0218061-1
595-0218221-1
595-0218731-9
595-0218733-5
595-0218735-0
595-0218737-6
595-0219019-8
595-0219199-8
595-0219201-2
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96-12-02747 4501-96-100060 595-0219201-2

4501-96-100075

595-0220067-4
595-0220069-0
595-0220071-6
595-0220667-1
595-0220669-7
595-0220825-5
595-0220839-6
595-0220847-9
595-0220849-5
595-0221443-6
595-0221445-1
595-0222677-8
595-0222679-4
595-0223073-9
595-0223085-3
595-0223087-9
595-0223089-5
595-0224105-8
595-0224111-6
595-0224 113-2
595-0224 115-7
595-022454 1-4

595-0224539-8
595-0224951-5
595-0224955-6
595-0225645-2
595-0225843-3
595-0225845-8
595-0225847-4
595-0226239-3
595-0226241-9
595-0227145-1
595-0227181-6
595-0229975-9
595-0228023-9
595-0228637-6
595-0228639-2
595-0229293-7
595-0229979-1
595-0229981-7
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97-07-01092

Protest Number
4501-96-100089

4501-97-100001

4501-97-100027

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Entry Number
595-0230855-0
595-0230859-2
595-0230861-8
595-0231695-9
595-0232085-2
595-0233803-7
595-0234379-7
595-0235669-0
595-0236391-0
595-0236395-1
595-0237175-6
595-0237177-2

595-0239171-3
595-0239187-9
595-0239751-2
595-0239769-4
595-0239779-3
595-0240645-3
595-0240647-9
595-0240651-1
595-0241389-7
595-0241393-9
595-024 1395-4
595-0241635-3
595-0242181-7
595-0242199-9
595-0242205-4
595-0242215-3
595-0242521-4
595-0242525-5

595-0246223-3
595-0246395-9
595-0247401-4
595-0247405-5
595-0247407-1
595-0247409-7
595-0247411-3
595-0247413-9
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SCHEDULE A

Protest Number

4501-97-100059

14

Entry Number
595-0247427-9
595-0247429-5
595-0247433-7
595-0248335-3
595-0248343-7
595-0249173-7
595-0249179-4
595-0249181-0
595-0249447-5
595-0249451-7
595-0250007-3
595-0250011-5
595-0251013-0
595-0251015-5
595-0251017-1
595-0251599-8
595-0251603-8

595-0252273-9
595-0252275-4
595-0252277-0
595-0252845-4
595-0252847-0
595-0252849-6
595-0253711-7
595-0253723-2
595-0253727-3
595-0253731-5
595-0254133-3
595-0254137-4
595-0254723-1
595-0254725-6
595-0255373-4
595-0255375-9
595-0255377-5
595-0255379-1
595-0255883-2
595-0255887-3
595-0255889-9
595-0255895-6
595-02561 15-8
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98-02-00233

Protest Number

4501-97-100088

12

Entry Number
595-0256283-4
595-0256285-9
595-0256287-5
595-0256459-0
595-0256751-0
595-0256753-6
595-0256755-1
595-0256757-7
595-0257429-2
595-0257431-8
595-0257439-1
595-0257921-8
595-0257925-9
595-0257935-8
595-0258507-4
595-0257939-0
595-0258505-8
595-0258559-5
595-0258561-1
595-0258563-7
595-0258573-6
595-0258575-1

595-0257433-4
595-0258557-9
595-0259177-5
595-0259179-1
595-0259181-7
595-02591 83-3
595-0025193-2
595-0259195-7
595-0259759-0
595-0526332-3
595-0260471-9
595-0260473-5
595-0260475-0
595-0261291-0
595-0261283-7
595-0261293-6
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4501-97-100089 595-0261881-8
595-0261883-4

595-0261893-3

595-0261897-4

595-0261903-0

98-12-03244 4501-98-100005 595-0262541-7
595-0263491-4
595-0263707-3
595-0263709-9
595-0264499-6
595-0264505-0
595-0264509-2
595-0264511-8
595-0264513-4
595-0265035-7
595-0265037-3
595-0265039-9
595-0265259-3
595-0265583-6
595-0265995-2
595-0265997-8
595-0266001-8
595-0266005-9
595-0266009-1
595-026601 1-7
595-0266725-2
595-0266729-4
595-0266733-6
595-0267165-0
595-0267167-6
595-0267 169-2
595-0267171-8
595-0267395-3
595-0267397-9
595-0268121-2
595-0268127-9
595-0268129-5
595-0268131-1
595-0268135-2
595-0268937-1
595-0268939-7

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4501-98-100009

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595-0268943-9
595-0269029-6
595-0269031-2
595-0269147-6
595-0269157-5
595-0269337-3
595-0269429-8
595-0269431-4
595-0269433-0
595-0269487-6
595-0270401-4
595-0270403-0
595-0270405-5
595-0270407-1
595-0270409-7
595-0270417-0
595-0270661-3
595-0270665-4
595-0270675-3
595-0270677-9
595-0270679-5
595-0270681-1
595-0270683-7

595-0270669-6
595-0270671-2
595-0271111-8
595-0271739-6
595-0271751-1
595-0271757-8
595-027 1759-4
595-0271765-1
595-0272223-0
595-0272225-5
595-0272229-7
595-0272285-9
595-0272495-4
595-0273125-6
595-0273129-8
595-0273133-0
595-0273265-0
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595-0273269-2
595-0273271-8
595-0273277-5
595-0273499-5
595-0273501-8
595-0273707-1
595-0273713-9
595-0273715-4
595-0273991-1
595-0273993-7
595-0273995-2
595-0273997-8
595-0273999-4
595-0274495-2
595-0274497-8
595-0274499-4
595-0274503-3
595-0274505-8
595-0274507-4
595-0274509-0
595-027451 1-6
595-0274513-2
595-0274773-2
595-0275581-8
595-0275583-4
595-0275585-9
595-0275587-5
595-0275589-1
595-0275591-7
595-0275593-3
595-0275595-8
595-0275597-4
595-0275599-0
595-0275687-3
595-0276193-1
595-0276205-3
595-0276207-9
595-0276213-7
595-0276215-2
595-0276217-8
595-0276221-0

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4501-98-100012

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Entry Number
595-0276225-1
595-0276229-3
595-0276233-5
595-0277047-8
595-0277057-7
595-0277059-3
595-0277061-9
595-0277063-5
595-0277065-0

595-0277749-9
595-0277751-5
595-0277753-1
595-0277755-6
595-0277757-2
595-0277759-8
595-0277761-4
595-0277765-5
595-0277769-7
595-0277771-3
595-0278045-1
595-0278537-7
595-0278539-3
595-0278551-8
595-0278553-4
595-0278557-5
595-0278559-1
595-0278561-7
595-0278567-4
595-0278573-2
595-0279593-9
595-0279797-6
595-0279799-2
595-0279801-6
595-0279803-2
595-0279805-7
595-0280043-2
595-0280045-7
595-0280047-3
595-0280049-9
595-0280055-6
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595-0280059-8
595-0280353-5
595-0280449-1
595-0280451-7
595-0280453-3
595-0280455-8
595-0281303-9
595-0281321-1
595-0281323-7
595-0281325-2
595-0282711-2
595-0282103-2
595-0282407-7
595-0282409-3
595-0282411-9
595-0282679-1
595-0282681-7
595-0282683-3
595-0283171-8
595-0283177-5
595-0283179-1
595-0283181-7
595-0283183-3
595-0283185-8
595-0283887-9
595-0283889-5
595-0283891-1
595-0283893-7
595-0284797-9
595-0284799-5
595-0285579-0
595-0284897-7
595-0284899-3
595-0284901-7
595-0284903-3
595-0284905-8

4501-98-100014 595-0285741-6
595-0285743-2
595-0285745-7
595-0285747-3

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99-09-00572

SCHEDULE A

Protest Number

4501-99-100001

18

Entry Number
595-0285749-9
595-0285751-5
595-0285753-1
595-0286247-3
595-028581 1-7
595-0285893-5
595-0286105-3
595-0286107-9
595-0286109-5
595-02861 11-1
595-0286113-7
595-0286115-2
595-0286357-0
595-0286905-6
595-0286907-2
595-0286909-8
595-028691 1-4
595-0286913-0
595-0287447-8
595-0287689-5
595-0278691-1
595-0288057-4
595-0288059-0
595-0288143-2
595-0288393-3
595-0288647-2
595-0289125-8
595-0290589-2
595-0290591-8
595-0290593-4
595-0290595-9

595-0291565-1
595-0291567-7
595-0291569-3
595-0291573-5
595-0291575-0
595-0291577-6
595-0291581-8
595-0291599-0
595-0292155-0
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Court No.

00-03-00092

Protest Number

4501-99-100008

19

Entry Number
595-0292609-6
595-0292611-2
595-0292895-1
595-0293495-9
595-0293497-5
595-0293499-1
595-0293501-4
595-0293503-0
595-0293567-5
595-0294443-8
595-0294447-9
595-0294965-0
595-0294975-9
595-0294977-5
595-0295849-5
595-0296411-3
595-0296415-4
595-0297577-0
595-0297881-6
595-0297887-3

595-0299421-9
595-0299605-7
595-0299609-9
595-0299611-5
595-0299619-8
595-0299621-4
595-029981 1-1
595-0299845-9
595-0299847-5
595-0301397-7
595-0301787-9
595-0301791-1
595-0301789-5
595-0303123-5
595-0303289-4
595-0303297-7
595-0304177-0
595-0304179-6
595-0305323-9
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SCHEDULE A

Court No.

Protest Number

4501-99-100021

20

Entry Number
595-0305325-4
595-0305329-6
595-0305335-3
595-0305337-9
595-0305339-5
595-0305341-1
595-0305995-4
595-0306221-4
595-0306223-0
595-0306225-5
595-0306229-7
595-0306233-9
595-0306895-5
595-0306897-1
595-0306915-1
595-0306917-7
595-0306919-3
595-0306921-9
595-0307127-2
595-0307147-0

595-0307141-3
595-0307143-9
595-0308349-1
595-0308351-7
595-0308499-4
595-0308501-7
595-0308929-0
595-0308931-6
595-0308933-2
595-0308935-7
595-0308937-3
595-0308943-1
595-0308945-6
595-0310427-1
595-0310429-7
595-0310431-3
595-0310433-9
595-0310435-4
595-031 1569-9
595-0311571-5
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SCHEDULE A

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Protest Number

4501-99-100042

4501-00-10001

21

Entry Number
595-0311573-1
595-0311575-6
595-0311951-9
595-0311955-0
595-0312631-6
595-0312633-2
595-0313577-0
595-0313581-2
595-0314253-7
595-0314775-9
595-0314781-7

595-0317781-4
595-0318931-4
595-0319317-5
595-0319563-4
595-0320421-2
595-0320423-8
595-0320429-5
595-0320791-8
595-0320793-4
595-0321301-5
595-0321303-1
595-0322473-1
595-0322791-6
595-0322793-2
595-0322909-4
595-0323743-6
595-0323895-4
595-0323897-0
595-0324549-6
595-0324599-1
595-0326169-1
595-0326171-7

595-0325587-5
595-0326173-3
595-0327041-1
595-0327835-6
595-0328449-5
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SCHEDULE A

Court No.

00-1 1-00534

Protest Number

4501-00-100002

22

Entry Number
595-0328451-1
595-0329001-3
595-0329003-9
595-0329869-3
595-0329871-9
595-0329873-5
595-0329875-0
595-0329863-6
595-0329967-5
595-0330361-8
595-0330541-5
595-0330545-6
595-0332111-5
595-0333675-8
595-0333677-4
595-0333681-6

595-0334151-9
595-0334209-5
595-0334683-1
595-0334687-2
595-0335313-4
595-033541 1-6
595-033581 7-4
595-0336301-8
595-0337215-9
595-0337217-5
595-0337465-0
595-0338045-9
595-0338303-2
595-0338339-6
595-0338591-2
595-0338595-3
595-0338597-9
595-0338599-5
595-0338601-9
595-0339161-3
595-0339477-3
595-0339977-2
595-0339979-8
595-0339983-0
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SCHEDULE A

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4501-00-100007

23

Entry Number
595-0033985-5
595-0339987-1
595-0340325-1
595-0340327-7

595-0340949-8
595-0340951-4
595-0341389-6
595-0341403-5
595-0341405-0
595-0341407-6
595-0341409-2
595-0342175-8
595-0342513-0
595-0342987-6
595-0344101-2
595-0344331-5
595-0344737-3
595-0344739-9
595-0344753-0
595-0344757-1
595-0344761-3
595-0344775-3
595-0345373-6
595-0345471-8
595-0345475-9
595-0345671-3
595-0345675-4
595-0345729-9
595-0345997-2
595-0346455-0
595-0346613-4
595-0346619-1
595-0346997-1
595-0346999-7
595-0347003-7
595-0347005-2
595-0347009-4
595-0347011-0
595-0347475-7
595-0347479-9
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Court No.

Protest Number

4501-00-100050

24

Entry Number
595-0347481-5
595-0347483-1
595-0347485-6
595-0347487-2
595-0347733-9
595-0347737-0
595-0347897-2
595-0347901-2
595-0347903-8
595-0348037-4
595-0348039-0
595-0348507-6
595-0348509-2
595-0348511-8
595-0348513-4

595-0348883-1
595-3048887-2
595-0349047-2
595-0349049-8
595-0349051-4
595-0349055-5
595-0349057-1
595-0349059-7
595-0349061-3
595-0349065-4
595-0350099-9
595-0350185-6
595-0350189-8
595-0350193-0
595-0350195-5
595-0350197-1
595-0350199-7
595-0350201-1
595-0350205-2
595-0350207-8
595-0350709-3
595-0350711-9
595-0350713-5
595-0350715-0
595-0351035-2
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Court No. Protest Number Entry Number
595-0351037-8
595-0351157-4
595-0351925-4
595-0351929-6
595-0351931-2
595-0351935-3
595-0351937-9
595-0352801-6
595-0352803-2
595-0352805-7
595-0352953-5
595-0353827-0
595-0354427-8
595-0354431-0
595-0354435-1
595-0354445-0
595-0354669-5

4501-00-100074 595-0356263-5
595-0356265-0
595-0356841-8
595-0357381-4
595-0357383-0
595-0357865-6
595-0357867-2
595-0358559-4
595-0358561-0
595-0358563-6
595-03591 15-4
595-0359241-8
595-0359245-9
595-0360025-2
595-0360027-8
595-0361653-0
595-0361655-5
595-0361657-1
595-0361923-7
595-0362041-7
595-0362043-3
595-0362925-1

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Court No.
02-00147

Protest Number
4501-01-100001

4501-01-100008

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Entry Number
595-0362923-6
595-0362927-7
595-0362931-9
595-03641 73-6
595-0364179-3
595-0364181-9
595-0364183-5
595-0364187-6
595-0364191-8
595-0364877-2
595-0364883-0
595-0365315-2
595-0365317-8
595-0365319-4
595-0365321-0
595-0366245-0
595-0366247-6
595-0366249-2
595-0366431-6
595-0366433-2
595-0366437-3
595-0366893-7
595-0366953-9
595-0366957-0
595-0367263-2
595-0367781-3
595-0367993-4
595-0367995-9
595-0368795-2

595-0369297-8
595-0369301-8
595-0369307-5
595-0370171-2
595-0370623-2
595-0370625-7
595-0370637-2
595-0370907-9
595-0372233-8
595-0372235-3
 

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Court No.

SCHEDULE A

Protest Number

4501-01-100043

27

Entry Number
595-0372239-5
595-0372479-7
595-0372763-4
595-0372765-9
595-0373005-9
595-0373313-7
595-0373315-2
595-0373317-8
595-0373771-6
595-0374229-4
595-0374231-0
595-0374233-6
595-0374235-1
595-0374541-2
595-0374543-8
595-0374927-3
595-0375153-5
595-0375167-5
595-0375169-1
595-0375733-4
595-0376811-7

595-0376561-8
595-0376565-9
595-0376961-0
595-0376963-6
595-0377277-0
595-037751 1-2
595-0377513-8
595-0378341-3
595-0379003-8
595-0379005-3
595-0379007-9
595-0379013-7
595-0379341-2
595-0380567-9
595-0380569-5
595-038057 1-1
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Court No. Protest Number Entry Number
595-0380573-7
595-0380639-6
595-0030641-2
595-0380643-8
595-0381043-0
595-0381045-5
595-0381047-1
595-038 1049-7
595-0381051-3
595-0381121-4
595-0381927-4
595-0381931-6
595-0381935-7
595-0381939-9

 

4501-01-100075 595-0381941-5
595-0381949-8
595-0381951-4
595-0381953-0
595-0383241-8
595-0383243-4
595-0383507-2
595-0383865-4
595-0383869-6
595-0383873-8
595-0383875-3
595-0384303-5
595-0384305-0
595-0384309-2
595-0384751-5
595-0385951-0
595-038595 7-7
595-0385969-2
595-0385979-1
595-0385983-3
595-0386207-6
595-038621 1-8
595-0386215-9
595-0386373-6
595-0386947-7
595-0387405-5

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02-00575

SCHEDULE A

Protest Number

4501-01-100081

4501-01-100087

4501-02-100025

29

Entry Number
595-0387407-1
595-0387409-7
595-0387805-6

595-038781 1-4
595-0387819-7
595-0388225-6
595-0388333-8
595-0388335-3
595-0388759-4
595-0389251-1
595-0389501-9
595-0390515-6
595-0391527-0
595-0391529-6
595-0392351-4
595-0392357-1
595-0392905-7
595-0393453-7
595-0393625-0
595-0394387-6
595-0394125-0

595-0395055-8
595-03957 13-2
595-0395715-7
595-0396217-3
595-0396459-1
595-0397463-2
595-0397467-3
595-0397985-4
595-0398281-7
595-0398905-1
595-0398907-7
595-0394 123-5

595-0399951-4
595-0399953-0
595-0401147-5
595-0401747-2
595-0402119-3
595-0402341-3
595-0403347-9
595-0404185-2
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Court No. Protest Number. Entry Number
595-0404187-8
595-0404191-0
595-0405225-5
595-0405831-0

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SCHEDULE B

MEAD DAY PLANNER MODEL NUMBERS

47062 47137 47288 50838
47064 47138 47300 50839
47065 47140 47302 50840
47068 47142 47316 50842
47096 47144 47318 50844
47097 47146 47320 50846
47098 47154 47322 50848
47099 47165 47326 50850
47101 47172 47328 50852
47102 47174 47330 50866
47103 AT75 47332 51863
47104 47176 47334 61036
47105 47178 47390 61064
47106 47180 47398 61070
47107 47182 47400 64022
47112 47184 47402 WA47104
47113 47192 47410 W47316
47114 47194 47412 WT471020
47115 47196 47416 WT47104
A7116 47199 47418 WT471040
A7117 47214 47420 WT471220
A718 = 47215 47424 WT47124
A7120 . 47218 47500 WT471240
47121 47219 47502 WT47214
47122 47226 47526 WT472140
47123 47228 47530 WT4730000
47124 47230 47532 WT473280
47125 47232 47534 WT47334
47126 47234 47536 WT473340
47127 47236 47538 WT474240
47128 47242 47540 WT47530
47129 47244 50016 WT47532

47130 47245 50074 WT475320
47131 47246 50260 WT475340
47132 47247 50344 WT475380
47133 47248 50830 WT50830
47134 AT249 50833 WT508300

47135 47282 50834
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NOTICE OF ENTRY AND SERVICE

This is a notice that an order of judgment was entered In the docket of
this action, and was served upon the parties on the date shown below.

Service was made by depositing a copy of thia order or Judgment) tz-jether
with any papers required by USGIT Rule 79(c), In a securely closes andorsad
penalty cover in a United States mall receptacia ai One Federal Plaza, Naw
York, New York 10007 and addreased to the attorney of record for aach party
at ihe address on the official docket in this action, except that service
upon the United States was made by personally delivering a copy ta the
Attornay-in-Charga, international Trade Field Office, Civil Division, United
States Department of Justice, 26 Federal! Plaza, New York, Naw York 10278 or
to a clorical employee designated, by the Atterney-in-Charge in a writing
filed with the clark of the court.

Lao M. Gordon
Clerk of the Gourt

Date: : 3 O By:

 
